Case: 1:24-cv-00034 Document #: 1-1 Filed: 01/02/24 Page 1 of 9 PageID #:18




                              Exhibit 1
                                                                                                                                                  !

              Case: 1:24-cv-00034 Document #: 1-1 Filed: 01/02/24 Page 2 of 9 PageID #:19
Certificate of Registration
                                                                                                                                      ffrfl
                                                                                                                                      :.'- I'tl
      STAT                   This Certificate issued under the seal of the Copyright                                                  f-{d
                             Office in accordance with title v,United States Code,
                             attests that registration has been made for the work
                      t.


tc
                             identified below The information on this certificate has        Registration Number
q
                !            been made a part of the Copyright Office records.
                    :1.
                                                                                             Y   L 2-2s9-109
                                                                                             Effective Date of Registration:
     'r870'
                                                                                             June 18,2021
                                                                                             Registration Decision Date :
                             United States Register of Copyrights and Director               Iuly 16,2021




     Title
                                  Title of Work: Rainbow Goddess


     Com pletion/Publ ication
                           Year of Completion:      2020
                 Date of lst Publication:           June 30, 2020
                Nation of lst Publication:          United States

     Author
                             a          Author:     Katja Perez
                                 Author Created:    Illustration
                                     Citizen of:    United States
                                   Domiciled in:    Germany
                                    Year Born:      1980


     Copyright Claimant
                           Copyright Claimant: Katja Perez
                                                   Franziska- Kessel-Str. 85, Mainz, 55 I 3 1, Germany




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     Certification

                                                                                                                         Page 1 of2
Case: 1:24-cv-00034 Document #: 1-1 Filed: 01/02/24 Page 3 of 9 PageID #:20
Case: 1:24-cv-00034 Document #: 1-1 Filed: 01/02/24 Page 4 of 9 PageID #:21
Case: 1:24-cv-00034 Document #: 1-1 Filed: 01/02/24 Page 5 of 9 PageID #:22
Case: 1:24-cv-00034 Document #: 1-1 Filed: 01/02/24 Page 6 of 9 PageID #:23
Case: 1:24-cv-00034 Document #: 1-1 Filed: 01/02/24 Page 7 of 9 PageID #:24
Case: 1:24-cv-00034 Document #: 1-1 Filed: 01/02/24 Page 8 of 9 PageID #:25
Case: 1:24-cv-00034 Document #: 1-1 Filed: 01/02/24 Page 9 of 9 PageID #:26
